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AO 245B (Rev. )   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                       Middle District
                                     __________        of Pennsylvania
                                                 District of __________
                                                       )
              UNITED STATES OF AMERICA                 )     JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                WILLIE JAMES JOHNSON                         Case Number: 1:18-CR-0111-01
                                                       )
                                                       )     USM Number: 76324-067
                                                       )
                                                       )      Monica D. Cliatt, AFPD
                                                       )     Defendant’s Attorney
THE DEFENDANT:
G
✔ pleaded guilty to count(s)          1 & 2 of the Indictment

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 21:841(a)(1)                       Distribution and Possession with Intent to Distribute 100                10/5/2017                    1

                                        Grams and More of Heroin
 18:1591(a), 18:1591(b)(2)          Sex Trafficking of a Minor                                               10/15/2015                   2

       The defendant is sentenced as provided in pages 2 through                7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          2/13/2019
                                                                         Date of Imposition of Judgment


                                                                          S/ Christopher C. Conner
                                                                         Signature of Judge




                                                                          CHRISTOPHER C. CONNER, CHIEF JUDGE
                                                                         Name and Title of Judge


                                                                          2/13/2019
                                                                         Date
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AO 245B (Rev. ) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    2        of   7
 DEFENDANT: WILLIE JAMES JOHNSON
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                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  One Hundred Twenty (120) Months. This term consists of 120 months on each count, to be served concurrently.




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
  The Court recommends that FCI Schuylkill (Minersville, PA) be designated as the place of confinement.




      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                  G a.m.       G p.m.         on                                             .

            G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before 2 p.m. on                                            .

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 aW                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev.  Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3    of        7
DEFENDANT: WILLIE JAMES JOHNSON
CASE NUMBER: 1:18-CR-0111-01
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Fifteen (15) years, which consists of 8 years on Count 1 and 15 years on Count 2, to run concurrently. (See Page 5 for
 additional conditions of supervised release.)




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVHFKHFNLIDSSOLFDEOH
    G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
           UHVWLWXWLRQFKHFNLIDSSOLFDEOH
.    ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      G
.    ✔
      G You must comply with the requirements of the Sex Offender Registration and Notification Act 86&HWVHT as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
           reside, work,are a student, or were convicted of a qualifying offense. (check if applicable)
.    G    You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4       of         7
DEFENDANT: WILLIE JAMES JOHNSON
CASE NUMBER: 1:18-CR-0111-01

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
    You must answer truthfully the questions asked by your probation officer.
    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
      aware of a change or expected change.
    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer mayrequire
      you to notify the person about the risk and you must comply with that instruction. The probation officer may contact theperson and
      confirm that you have notified the person about the risk.
   You must follow the instructions of the probation officer related to the conditions of supervision.
   <RXPXVWQRWLI\WKHFRXUWRIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\UHVWLWXWLRQ
      ILQHVRUVSHFLDODVVHVVPHQWV

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3B — Supervised Release
                                                                                          Judgment—Page    5     of      7
DEFENDANT: WILLIE JAMES JOHNSON
CASE NUMBER: 1:18-CR-0111-01

                                    ADDITIONAL SUPERVISED RELEASE TERMS
1. The defendant must submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the court. The defendant must not attempt to obstruct or tamper with the testing
methods.
2. The defendant must cooperate in the collection of a DNA sample as directed by the probation officer.
3. The defendant must participate in a substance abuse treatment program and follow the rules and regulations of that
program. The probation officer will supervise your participation in the program which could include an evaluation and
completion of any recommended treatment.
4. The defendant must not use or possess any controlled substances without a valid prescription. If he does have a
valid prescription, he must disclose the prescription information to the probation officer and follow the instructions on the
prescription.
5. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.
6. The defendant must provide the probation officer access to any requested financial information and authorize the
release of any financial information. The probation officer may share financial information with the U.S. Attorney's Office.
7. The defendant must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer.
8. The defendant must pay the financial penalty in accordance with the Schedule of Payments sheet of this judgment.
He must also notify the court of any changes in economic circumstances that might affect the ability to pay this financial
penalty.
9. The defendant shall not have direct contact with any child you know or reasonably should know to be under the age of
18 without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably
should know to be under the age of 18 without the permission of the probation officer, you must report this contact to the
probation officer within 24 hours. Direct contact includes written communication, in-person communication, or physical
contact. Direct contact does not include incidental contact during ordinary daily activities in public places. This condition
does not impact the defendant's ability to interact with his family.
10. The defendant must not go to, or remain, at any place where you know children under the age of 18 are likely to be,
including parks, schools, playgrounds, and childcare facilities.
11. The defendant must not go to, or remain at, a place for the primary purpose of observing or contacting children
under the age of 18.
12. The defendant must participate in a sex offense-specific treatment program and follow the rules and regulations of
that program. The probation officer will supervise your participation in the program which could include an evaluation and
completion of any recommended treatment.
13. The defendant must submit to periodic polygraph testing at the discretion of the probation officer as a means to
ensure that you are in compliance with the requirements of your supervision or treatment program.
14. The defendant must submit his person, property, house, residence, vehicle, papers, computers, or other electronic
communications or data storage devices or media, or office, to a search conducted by a United States probation officer.
Failure to submit to a search may be grounds for revocation of release. The defendant must warn any other occupants
that the premises may be subject to searches pursuant to this condition.
15. You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the
location where you reside, work, are a student, or were convicted of a qualifying offense.
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AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page      6     of        7
 DEFENDANT: WILLIE JAMES JOHNSON
 CASE NUMBER: 1:18-CR-0111-01
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                  JVTA Assessment*                 Fine                      Restitution
 TOTALS            $ 200.00                     $ 5,000.00                         $ 200.00                  $ 0.00


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                      Total Loss**               Restitution Ordered           Priority or Percentage




 TOTALS                               $                         0.00           $                        0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine      G restitution.
       G the interest requirement for the          G fine       G      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                         Case 1:18-cr-00111-CCC Document 49 Filed 02/14/19 Page 7 of 7
$2%5HY-XGJPHQWLQD&ULPLQDO&DVH
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      7      of           7
DEFENDANT: WILLIE JAMES JOHNSON
CASE NUMBER: 1:18-CR-0111-01

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     G
      ✔ Lump sum payment of $             200.00                due immediately, balance due

           G      not later than                                    , or
           G
           ✔      in accordance with     G    C,    G    D,    G     E, or      G
                                                                                ✔ F below; or

B     G Payment to begin immediately (may be combined with                   G C,         G D, or      G F below); or
C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G
      ✔ Special instructions regarding the payment of criminal monetary penalties:
            The special assessment consists of $100 on each count. The fine applies to Count 1. The JVTA assessment applies to Count
            2. During the term of imprisonment, the fine is payable every three months in an amount, after a telephone allowance, equal to
            50 percent of the funds deposited into the defendant's inmate trust fund account. In the event the fine is not paid in full prior to
            the commencement of supervised release, the defendant shall, as a condition of supervised release, satisfy the amount due in
            monthly installments of no less than $50, to commence 30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
